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                   UNITED STATES BANKRUPTCY COURT
                SOUTHERN DISTRICT OF TEXAS (HOUSTON)

                              .
IN RE:                        .         Case No. 23-90147
                              .         Chapter 11
MOUNTAIN EXPRESS OIL COMPANY, .
et al.,                       .         515 Rusk Street
                              .         Houston, TX 77002
                              .
                 Debtors.     .         Wednesday, April 12, 2023
                              .         12:01 p.m.
. . . . . . . . . . . . . . . .


                  TRANSCRIPT OF SHOW CAUSE HEARING
                BEFORE THE HONORABLE DAVID R. JONES
                UNITED STATES BANKRUPTCY COURT JUDGE

APPEARANCES:
For the Debtor:              Pachulski Stang Ziehl & Jones LLP
                             By: BENJAMIN WALLEN, ESQ.
                             440 Louisiana Street, Suite 900
                             Houston, TX 77002
                             (713) 691-9385
For Ada Coca-Cola
Bottling Company:            Crowe & Dunlevy
                             By: CHRISTOPHER M. STAINE, ESQ.
                             2525 McKinnon Street, Suite 425
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APPEARANCES CONTINUED.

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APPEARANCES (Continued):

For the Official              McDermott Will & Emery LLP
Committee of Unsecured        By: CHARLES R. GIBBS, ESQ.
Creditors:                    250 North Harwood Street, Suite 1900
                              Dallas, TX 75201
                              (214) 295-8063

                              CHARLES RAY CRABTREE, VP and CFO
Also Present:
                              ADAM CRABTREE, Director of Sales
                              Ada Coca-Cola Bottling Company


TELEPHONIC APPEARANCES:
For the Debtors:              Pachulski Stang Ziehl & Jones LLP
                              By: JEFFREY POMERANTZ, ESQ.
                              10100 Santa Monica Boulevard
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For the United States         Office of the United States Trustee
Trustee:                      By: JAYSON RUFF, ESQ.
                              515 Rusk Street, Suite 3516
                              Houston, TX 77002
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1          (Proceedings commence at 12:01 p.m.)

2                THE COURT:    All right.    Good afternoon, everyone.

3    This is Judge Jones.      The time is 12:01 Central.        Today is

4    April the 12th, 2023.      This is the docket for Houston, Texas.

5    Next on this afternoon's docket, we have the jointly

6    administered cases under Case Number 23-90147, Mountain Express

7    Oil Company.

8                Folks, don't forget to record your electronic

9    appearance.     That's a quick trip to the website.         You can do

10   that at any time prior to the conclusion of the hearing, but

11   that is the way that we record your official appearance.              First

12   time that you speak, if you would please state your name and

13   who you represent, really does give the court reporter a good

14   point of reference in the event that a transcript request is

15   made.

16               We are recording this afternoon using CourtSpeak.

17   We'll have the audio up on the docket shortly after the

18   conclusion of the hearing.

19               To the folks in the courtroom, I would ask that when

20   you speak, you come to the lectern.         We only have one camera,

21   and so I need you in front of the lectern so you can both be

22   seen and be heard.

23               With that, Mr. Wallen, good afternoon.          Do you want

24   to give me a status update?

25               MR. WALLEN:    Good afternoon, Judge Jones.         Ben




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1    Wallen, Pachulski, Stang, Ziehl & Jones, proposed counsel to

2    the debtors.     I'm joined today with my colleague, Jeff

3    Pomerantz, who's appearing remotely.

4                Judge, I'd love to give you a status update.            We are

5    here, of course, today on the debtors' motion -- emergency

6    motion rather -- for entry of an order to show cause and for

7    compensatory and coercive sanctions against independent

8    bottler, Ada Coca-Cola Bottling Company, filed at Docket 229.

9    Judge, this is the second time the debtors are coming before

10   the Court regarding violations of the automatic stay and stay

11   orders issued by you.      But for now, Judge, I'd like to not

12   belabor the point set forth in the motion and instead turn to

13   an update.

14               Shortly after the Court entered the show cause order

15   on Monday, the debtor served a copy of the show cause order and

16   filed a certificate of service on the docket at Docket 246 in

17   compliance with the terms of the order.          That same day, we

18   received a call from general business counsel for Ada Coca-Cola

19   and, shortly thereafter, received a call from Mr. Craig.              Your

20   Honor will recall Mr. Craig represented a similar contemnor

21   just a couple of weeks ago before you, Judge.           Mr. Craig

22   informed us that he had spoken with Ada Coca-Cola regarding

23   their obligations and let us know that they intended to come in

24   compliance with the automatic stay and the Court's orders the

25   following day.




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1                Judge, a little before three o'clock yesterday, the

2    debtors were able to confirm that the equipment was returned to

3    the effective location and is in working order.            So while the

4    debtors view the return of the equipment as curing the

5    noncompliance with the automatic stay and the court orders,

6    there is still a need to address the harm and damage inflicted

7    upon the debtors' estates.       We've begun initial discussions

8    with Mr. Craig and Mr. Staine, who's here in the courtroom on

9    behalf of Aida Coca-Cola, but of course, are looking for any

10   guidance, Your Honor has.       So with that, Judge, I'll pause for

11   any comments or questions for me.

12               THE COURT:    All right.    Let me ask -- Mr. Staine,

13   come forward please, sir.       You agree with Mr. Wallen's

14   assessment of where we are?

15               MR. STAINE:    Yes, Your Honor.      Christopher Staine

16   with Crowe & Dunlevy on behalf of Ada Coca-Cola Bottling

17   Company, and I agree with the update that Mr. Wallen provided.

18   We did get confirmation from debtors' counsel that, yesterday

19   afternoon, all equipment had been returned.           And after we were

20   retained, I believe Ada Coca-Cola Bottling Company has a much

21   better appreciation for not only the automatic stay, but its

22   impact on our client's rights and -- which is why there was

23   such a quick turn in returning the equipment.           And we intend to

24   continue our discussions with Mr. Wallen and the U.S. Trustee's

25   Office in order to make sure that any damages that were caused




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1    are rectified.

2                THE COURT:    All right.    Let me -- who did you bring

3    with you today?

4                MR. STAINE:    Your Honor, in compliance with the order

5    to -- your order to appear, I have Mr. Frank Crabtree,

6    vice-president and CFO of Ada Coca-Cola Bottling Company, and

7    also Mr. Adam Crabtree, who is the director of sales for the

8    company.

9                THE COURT:    All right.    I just seem to remember a

10   different first name of the parties that I required to be here.

11   Am I just mistaken?       I'm looking at the order.      So it's Frank

12   Ray Crabtree.

13               MR. STAINE:    Yes, Your Honor.      Mr. Frank Ray

14   Crabtree, vice-president and CFO.

15               THE COURT:    All right.    So, Mr. Crabtree, if you

16   could please come forward, sir.        Good afternoon.

17               MR. CRABTREE:     Good afternoon, sir.

18               THE COURT:    All right.    Mr. Crabtree, I want you to

19   listen to me for just a second.

20               MR. CRABTREE:     Certainly.

21               THE COURT:    Sorry about that.      Security measures.          I

22   can't get on my computer without my phone anymore.

23               This is the least fun thing about my job.           I want you

24   to understand I didn't issue the order requiring you to appear

25   lightly.    I understand that there's a cost attached to it, just




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1    not only in terms of a plane fare or however it is you got

2    here.     But I also understand that there's a cost to you not

3    being able to attend to your business.         I recognize that.        But

4    I want to tell you, with comments that were in the email, as

5    well as the comments that were repeated by counsel, I want to

6    tell you, you know, we're all Americans.          We are.    We all have

7    to live by the rule of law.       And if you knew what I gave up to

8    take this job, one, you would look at me and go, you're out of

9    your mind, and I would probably agree with you, but I did it

10   because this involves a process that does so much good for

11   people.     And if you think about being a nation of second

12   chances, I can't tell you, you know, because of people who pass

13   through here, how many people have jobs today, how many people

14   have a second chance to make it because of the process that

15   exists.

16               It is also a very fragile process.         It depends upon

17   people complying with the law.        It depends upon people treating

18   each other like human beings.        You know, we're neighbors.

19   You're a state to the north.

20               MR. CRABTREE:     We are.

21               THE COURT:    You know, this is not something I enjoy

22   doing, but what I want to emphasize to you -- and I appreciate

23   the fact you hired good lawyers, you took the steps to try and

24   get as right as you could -- there's still a step that you're

25   going to have to deal with.       And I know you know that, I know




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1    your lawyers have talked to you about that.           I'm going to give

2    you that opportunity.      But I want you to understand why I'm

3    giving you that opportunity.

4                It is because I believe in second chances.           And I

5    believe, just because of where you live, what you do, I got to

6    believe that you want to be a good law-abiding citizen.              I'm

7    going to chalk up what happened to just simply being had a bad

8    day, you had an error in judgment.         But what I want to

9    reiterate with you, number one, that youngster sitting right

10   there is a young lawyer trying to do a good job.            He didn't

11   need to be subjected to the type of email that was sent.              It's

12   not right.    I mean, you know, he's somebody's son.           Think about

13   your son.    It's not right.     If he had been that way to you, I'd

14   have been a lot harder on him, because he knows better, than I

15   am going to be on you.        I want you to remember today because

16   I'm going to give you a second chance.         There's a side to my

17   personality that some of the lawyers know, you don't, and I

18   hope you don't ever find that out.         I can be unbelievably harsh

19   when someone violates a process that I took an oath to uphold.

20   I don't want to be that person.        What I want to be is someone

21   that can reason that we can all be human beings, we can realize

22   that mistakes get made, that with mistakes come a consequence.

23   But I want you take out of this is that there's a better way.

24   You know, if the law provides a way that if you believe that

25   something needs to be adjusted, that's what I do every single




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1    day.     I mean, if you look at what I do, I generally consider

2    probably, on average, 100 things a day.          I work really hard to

3    try to make sure the process is right.         I want you to

4    understand a country provides you an opportunity.            We all,

5    every single one of us, owes an obligation back to that

6    process.     That makes sense?

7                MR. CRABTREE:     Does, Your Honor.

8                THE COURT:    Okay.    From my viewpoint, you have two

9    things that you need to do.       Number one, you got to get right

10   with the bankruptcy estate, and I'm going to give -- your

11   lawyers know what that's going to take, and I'm going to let

12   you -- I'm going to give you some time to work that out.              You

13   don't have to agree.      If you decide you don't want to agree,

14   then I'll make the call.

15               MR. CRABTREE:     Right.

16               THE COURT:    You -- I've always believed you're so

17   much better off fixing your own mistakes than having somebody

18   fix them for you.      Second thing you need to do, and you do this

19   out in the hall, be a man.        You owe that young man an apology.

20               MR. CRABTREE:     I do.

21               THE COURT:    You know, you don't owe me anything.           I'm

22   grown.     I got an awfully thick skin.      I've done this for

23   30-plus years.     I'm good.    He hasn't.    So make this right.

24   Next time you deal with someone who perhaps had a bad day,

25   remember today.




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1                 MR. CRABTREE:    Yes, sir.

2                 THE COURT:    Okay.   All right.    Thank you, sir.

3                 MR. CRABTREE:    Thank you, Your Honor.

4                 THE COURT:    Let me ask the parties.

5                 You're fine.

6                 You were really successful in solving the prior

7     issue.   Do you want me to give you a continued hearing date?

8     Do you want me to simply hold it in abeyance and the two of you

9     can ask for a hearing if you can't get it resolved?             What would

10    make -- what would make sense?

11                MR. WALLEN:    Judge, as you've observed before,

12    deadlines help, so what we've initially discussed is setting a

13    very similar framework like before.        Give us until close of

14    business on Monday, April 24th, to submit an agreed form of

15    order.   And then, if we cannot reach an agreement, we would

16    have another in-person hearing in front of you, Judge, later

17    that week.

18                THE COURT:    All right.

19                MR. WALLEN:    Subject to your availability.

20                THE COURT:    Two of you got your calendars?

21                MR. WALLEN:    Yes.

22                THE COURT:    So we're going to set Monday the 24th as

23    your deadline to either agree or not agree.           And then you want

24    your hearing on the 25th?       Do you want your hearing on the

25    26th?    What are you looking for?




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1                 MR. WALLEN:    The 26th, 27th, the back half of that

2     week would be great for me, Judge.

3                 THE COURT:    All right.

4                 MR. STAINE:    I'm open on --

5                 THE COURT:    Both days?

6                 MR. STAINE:    Yeah, 26th or the 27th.

7                 THE COURT:    I got it.    And so my memory is you're

8     coming down from Dallas?

9                 MR. STAINE:    Yes, Your Honor.

10                THE COURT:    Okay.   And your client's coming from

11    Oklahoma.

12                MR. STAINE:    Ada.   Ada, Oklahoma.

13                THE COURT:    Is that just -- is that a flight out

14    of --

15                MR. STAINE:    OKC.

16                THE COURT:    -- Oklahoma City?     Okay, got it.       Because

17    I'm trying to avoid you having to spend the night.            If we set

18    something for early afternoon, would that make sense?               Do you

19    come in in the morning, and then hopefully, there's a late

20    flight in the evening if you have to have it?

21                MR. STAINE:    I think that works just fine.

22                THE COURT:    All right.    So let's do this.      I am very

23    comfortable with your deadline to reach a resolution and upload

24    an agreed order.     Actually, let me do it this way.         I'm just

25    going to give you a hearing date.        You get it resolved at any




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1     time before that date, terrific.        And if you don't, then you

2     don't.   That make sense?

3                 MR. WALLEN:    So if we file the order, you enter it,

4     we don't need to appear then.

5                 THE COURT:    Oh, absolutely.     If I just put in -- if

6     you all reach an agreement, just put in a one-line sentence

7     that says the hearing scheduled for -- it'll be April the 26th,

8     why don't we say at 1:30 Central -- is cancelled.           That make

9     sense?

10                MR. WALLEN:    Yes.

11                MR. STAINE:    Yes.

12                THE COURT:    All right, thank you.      And again, I'm

13    going to just chalk this up as to we had a bad day, we said

14    some things we wish we could take back.         We're all going to be

15    law-abiding citizens, and if we think change ought to be made,

16    there's a process to effectuate change.         But otherwise, we're

17    all going to follow the law.       All right?

18                MR. STAINE:    Understood, Judge.

19                THE COURT:    Terrific.     I appreciate the hard work.         I

20    appreciate the professional manner that the two of you have

21    approached this.     I also appreciate Mr. Crabtree's humility in

22    being here, and, you know, whether he believes it or not, you

23    know, we'll never know.      But I do appreciate him appearing and

24    acknowledging that perhaps there was a different way.

25                All right.    Let me ask.    So we now have Committee on




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1     board.     Mr. Gibson [sic], thank you.      Thank you for coming

2     down.

3                 MR. GIBBS:    Good afternoon, Your Honor.       Chuck Gibbs

4     with McDermott, Will & Emery, proposed counsel for the

5     unsecured creditors' committee.        We have been retained subject

6     to court order, obviously.

7                 THE COURT:    Sure.

8                 MR. GIBBS:    And I was working in Houston today and

9     tomorrow, so I decided to come over because I wasn't sure the

10    status of whether this was going to go forward or was resolved.

11                THE COURT:    No, I --

12                MR. GIBBS:    Rapidly getting up to speed.

13                THE COURT:    I think everybody's working really hard

14    to try to get focused on the ultimate future of the company,

15    and these little stumbling blocks, we'll just deal with and

16    move on.

17                Let me ask you.     I know we've got a number of things

18    coming up.

19                MR. GIBBS:    Uh-huh.

20                THE COURT:    Are you getting what you need?        Are you

21    getting -- are you having the conversations you need to have in

22    order to become educated?

23                MR. GIBBS:    Yes, we are, Your Honor, with the caveat

24    that I'm not sure I can say yes, we've gotten everything we

25    need, but we are having conversations that are productive.




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1     Debtors' counsel has been very accommodating, as has their

2     financial advisor, FTI.       They've been engaged with our proposed

3     financial advisor, Province.         We started getting information

4     yesterday.     We got admitted to a data room that's been set up.

5     So we're on that process, and we're having discussions, for

6     example, with counsel for the DIP lender with respect to the

7     proposed DIP loan that's set currently for final hearing, I

8     believe, Friday in Corpus Christi.

9                  THE COURT:    Got it.    So is -- the concept, I was

10    going to just ask.        Are we in -- you know, I'm just on my

11    normal Corpus docket, so I will be in Corpus.          Are we -- I

12    guess we got two things set.         Mr. Wallen, I'm looking to you.

13    We've got we've got KERP and then final DIP?

14                 MR. WALLEN:    Judge, currently, I believe on calendar

15    for Friday is a dealer reconciliation procedures motion, as

16    well as the Cameron transaction, closing motion, and the final

17    DIP are the ones that are currently scheduled.

18                 THE COURT:    Okay, fair enough.    So someone better

19    become more educated before Friday, but we --

20                 MR. GIBBS:    We are --

21                 THE COURT:    I've got a lot of things to do between

22    now and Friday.

23                 MR. GIBBS:    We are in active conversations with

24    debtors' counsel with respect to the other two motions that Mr.

25    Wallen just talked about.




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1                 THE COURT:     So let me tell you -- what were you all

2     planning on doing?       Because here's what I've done in the past,

3     and I don't remember either one of you -- obviously, if you

4     want to come to Corpus, you can come to Corpus, but what we

5     will do is we'll have the courtroom live, and I will just port

6     it in.     So if you all want to come here, that's terrific, just

7     if you would just shoot us an email, let us know.           If you want

8     to be on just remotely, all fine by me.         I'll be sitting in --

9     I don't know whose judge's courtroom I'll be using in Corpus,

10    but I'll be in somebody's courtroom on Friday.          Okay?

11                MR. GIBBS:     All right.

12                MR. WALLEN:     Understood, Judge.

13                THE COURT:     All right.   Terrific.    Anything else we

14    need to talk about?

15                MR. WALLEN:     Nothing from the debtors, I don't

16    believe.

17                THE COURT:     All right.   Thank you all again.

18                Mr. Ruff, I did not mean to ignore you.         Did you have

19    any questions or comments?       He's waiting on me to unmute him.

20    Mr. Ruff?

21                MR. RUFF:     Here I am.    Good afternoon, Your Honor.

22    Jayson Ruff with the U.S. Trustee's Office.          Nothing at this

23    point.     Thank you for allowing me the opportunity to say one

24    way or the other.

25                THE COURT:    Thank you.




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1                 And Mr. Pomerantz, I assumed that Mr. Wallen just did

2     a far better job than anyone else could have done and you have

3     nothing to add.

4                 MR. POMERANTZ:     I didn't realize, Your Honor, my line

5     was muted.    But Mr. Wallen, I think, did us proud.           Appreciate

6     Your Honor setting the hearing, and Mr. Wallen and Mr. Gibbs

7     were accurate in terms of Friday's hearing.           I know I will be

8     handling the majority of Friday's hearing, and I will plan to

9     be doing it virtually, as I suspect our witness is, as well, in

10    light of Your Honor being in Corpus Christi, but if other

11    people want to use our facilities, that's okay with us.

12                THE COURT:    Thank you.      Courtroom -- in this

13    courtroom will be open, and the video will be attached, and

14    Ms. Portillo will be here.       I just simply will be in another

15    courtroom.    All right?     All right.    Thank you.    We'll be

16    adjourned --

17                MR. POMERANTZ:    Thank you, Your Honor.

18                THE COURT:    -- until one o'clock.

19                MR. WALLEN:    Thank you, Judge.

20                THE CLERK:    All rise.

21                MR. STAINE:    Thank you, Your Honor.

22          (Proceedings concluded at 12:19 p.m.)

23                                    * * * * *

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1                           C E R T I F I C A T I O N

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3                 I, Alicia Jarrett, court-approved transcriber, hereby

4     certify that the foregoing is a correct transcript from the

5     official electronic sound recording of the proceedings in the

6     above-entitled matter.

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10    ____________________________

11    ALICIA JARRETT, AAERT NO. 428           DATE: April 16, 2023

12    ACCESS TRANSCRIPTS, LLC

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